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14   Individual and Representative Plaintiffs

15   [Additional Counsel Listed on Signature Page]

16
                         IN THE UNITED STATES DISTRICT COURT
17                            FOR THE DISTRICT OF NEVADA

18
     Cung Le, Nathan Quarry, Jon Fitch, Brandon         Case No.: 2:15-cv-01045-RFB-BNW
19   Vera, Luis Javier Vazquez, and Kyle Kingsbury,
     on behalf of themselves and all others similarly   DECLARATION OF JOSEPH R.
20   situated,                                          SAVERI IN SUPPORT OF PLAINTIFFS’
21                                    Plaintiffs,       MOTIONS IN LIMINE NO. 1 TO
                                                        STRIKE DEFENDANT’S UNTIMELY
22   v.                                                 DISCLOSED WITNESSES FROM
                                                        DEFENDANT’S WITNESS LIST AND
23   Zuffa, LLC, d/b/a Ultimate Fighting                EXCLUDE UNTIMELY WITNESSES
     Championship and UFC,                              FROM TESTIFYING AT TRIAL
24
                                      Defendant.
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30                                                                        Case No.: 2:15-cv-01045-RFB-BNW
          DECLARATION IN SUPPORT OF PMIL NO. 1 TO STRIKE DEFENDANT’S UNTIMELY DISCLOSED WITNESSES FROM
31             DEFENDANT’S WITNESS LIST AND EXCLUDE UNTIMELY WITNESSES FROM TESTIFYING AT TRIAL
         Case 2:15-cv-01045-RFB-BNW Document 993-1 Filed 02/29/24 Page 2 of 4




 1      I, Joseph R. Saveri, Esq., declare and state as follows:

 2      1. I and am the founder of the Joseph Saveri Law Firm, LLP and one of the Court

 3   appointed Co-Lead Class Counsel to represent the Bout Class in Le v. Zuffa, LLC, No. 2:15-cv-

 4   1045 (D. Nev.). I am a member in good standing of the California bar and have been admitted

 5   pro hac vice in this Court. I am over 18 years of age and have personal knowledge of the facts

 6   stated in this Declaration. If called as a witness, I could and would testify competently to them. I

 7   make this declaration pursuant to 28 U.S.C. § 1746.

 8      2. Attached as Exhibit A is a true and correct copy Defendant Zuffa, LLC's Preliminary

 9   Witness List dated February 2, 2024.

10      3. Attached as Exhibit B is a true and correct copy of Defendant Zuffa, LLC’s Rule 26(a)(1)

11   Initial Disclosures served on and dated May 8, 2015.

12      4. Attached as Exhibit C is a true and correct copy of Plaintiffs’ Rule 26(a)(1) Initial

13   Disclosures served on and dated May 8, 2015.

14      5. Attached as Exhibit D is a true and correct copy of Defendant Zuffa, LLC’s Rule

15   26(a)(1) Supplemental Disclosures served on and dated December 22, 2023.

16      6. On February 13, 2024, in response to an email exchange from Plaintiffs’ counsel Eric

17   Cramer regarding the thirteen Untimely Witnesses at issue in Plaintiffs’ Motion in Limine No. 1,

18   Zuffa’s counsel asserted via email: “Zuffa has not ‘refused’ to disclose the topics for which these

19   witnesses have knowledge, as that information has been disclosed repeatedly, including within

20   initial disclosures filed in 2015, and supplemental disclosures filed in 2023 and 2024.

21      7. Attached as Exhibit E is a true and correct copy of correspondence dated October 28,

22   2015 from counsel for Defendant Zuffa.

23           I declare under penalty of perjury and the laws of the United States that the foregoing is

24   true and correct. This Declaration was executed in San Francisco, California on February 29,

25   2024.

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30                                                         1                   Case No.: 2:15-cv-01045-RFB-BNW
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 1   Dated: February 29, 2024                    By:   /s/ Joseph R. Saveri

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                                                Kevin E. Rayhill (admitted pro hac vice)
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                                               Counsel for the Class and Attorneys for Individual
26                                             and Representative Plaintiffs.

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30                                                3                  Case No.: 2:15-cv-01045-RFB-BNW
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